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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                    CRIMINAL ACTION

VERSUS                                                                      NO. 16-32

LOUIS AGE JR.                                                               SECTION: M (1)
LOUIS AGE III
     a/k/a “Big Lou”
RONAL WILSON JR.
KENDRICK JOHNSON
STANTON GUILLORY
     a/k/a “Nan Nan”


                                           ORDER

       Before the Court is defendant Stanton Guillory’s request for notice of intent to use

evidence under Rule 404(b) of the Federal Rules of Criminal Procedure.1 Guillory seeks an

order requiring the government to notify him immediately of any proposed 404(b) evidence

arguing that this case includes voluminous discovery, and that his lead counsel will be involved

in another lengthy trial beginning on January 15, 2020, which is expected to last five to seven

weeks, meaning that his counsel’s time to challenge the 404(b) notice will be diminished.2

       In response, the government agrees to provide the 404(b) notice to Guillory on January

13, 2020, which is three months before the April 13, 2020 trial date.3 The government argues

that Guillory has two appointed attorneys, and that, as a result, three months is ample time for

them to review and challenge the 404(b) notice.4

       Rule 404(b) states that the government must “provide reasonable notice of the general

nature of any [other crimes] evidence that the prosecutor intends to offer at trial.” Fed. R. Evid.

404(b)(2)(A). The rule does not define “reasonable notice.” The cases collected under the rule


       1
         R. Doc. 290.
       2
         R. Doc. 318.
       3
         R. Doc. 309 at 1.
       4
         Id. at 1-2.
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show a wide variety of what courts have considered reasonable timing of the notice, with no

decision cited to or found by the Court holding that three months’ notice was not reasonable.

Considering the circumstances of this case, including that Guillory has two appointed attorneys,

the Court finds that the government’s agreement to produce its 404(b) notice to Guillory three

months ahead of trial, on January 13, 2020, is reasonable, and will not order the government to

do so immediately.

       Accordingly, for the reasons stated above,

       IT IS ORDERED that the motion is DENIED as to immediate notice.

       IT IS FURTHER ORDERED that the government file its 404(b) notice as to Guillory on

or before January 13, 2020.



       New Orleans, Louisiana, this 18th day of December, 2019.




                                                    ________________________________
                                                    BARRY W. ASHE
                                                    UNITED STATES DISTRICT JUDGE




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